Case 1: 04- C\/- 01219- .]DB- -egb Document 9 Filed 05/03/05 Page 1 of 3 Pa 16

034 539
4
IN THE UNITED STATES DISTRICT CoURT />, iv \ 0
FoR THE WESTERN DISTRICT oF TENNESSEE 4;'</<<` §>@, ,,, -(’
EASTERN DIvISIoN />L;;49 395/90 é.`-O
`/` 531 590 <’
/zl‘<-";FO(%:)/} /-//>
THE CITY oF SAvANNAH, ) ’-539f » 9
TENNESSEE, a municipal corporation, )
)
Plainciff, )
)
vs. ) NO.: 04-1219-T-An
)
GARVER ENGINEERS, LLC, )
)
Defendant. )

 

ORDER GRANTING MOTION FOR PRETRIAL CONFERENCE

 

Pursuant to an Order of Reference entered April 13, 2005, the Defendant’s Motion for
Pretrial Conference has been referred to the Magistrate Judge for determination

It appearing from the motion that the motion is well taken and the Motion for Pretrial
Conference is GRANTED.

As such, the Court shall conduct a telephone conference on TUESDAY, MAY 24, 2005
at 11:00 a.m. for the purpose of discussing modification of the Scheduling Order and setting a
new trial date. Counsel are directed to confer prior to the telephone conference regarding

proposed deadlines and a new trial date. Mr. David N. Garst, counsel for Defendant, shall initiate

This document entered on the docket sheet tn co pll;\nce n
with Flule 58 and.'or 79 {a) FHCP on _ zzf& 1 nQ/ @

Case 1:O4-cV-01219-.]DB-egb Document 9 Filed 05/03/05 Page 2 of 3 Page|D 17

the conference call and shall contact the Court after all other counsel have been contacted..

IT IS SO ORDERED.

<SWM £&¢4.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 977€17 51er 2005/-

UNITED`TATES DiST"CRCToURT - wE"'NSERDiSTCRiT oF'TNi\i'ESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:04-CV-01219 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

Ronald B. Deal

LEWIS KING KRIEG & WALDROP
201 Fourth Ave. N.

Ste. 1500

Nashville, TN 37219

Diane Barrier Polk

Hardin County Courthouse
601 Main Street
Savannah, TN 38372

J ames A. Hopper
HOPPER & PLUNK
P.O. Box 220
Savannah, TN 38372

David N. Garst

LEWIS KING KRIEG & WALDROP
Third National Financial Center

9th Floor

Nashville, TN 37219

Dennis W. Plunk
HOPPER & PLUNK
P.O. Box 220
Savannah, TN 38372

Honorable J ames Todd
US DISTRICT COURT

